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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF ALABAMA
                                     SOUTHERN DIVISION

MICHAEL SMITH,                                       )
                                                     )
              Plaintiff,                             )
                                                     )
V.                                                   )
                                                     )   CASE NO. 18-37
SANDY S. STIMPSON, individual and                    )
official capacity as Mayor of the City of            )   NOTICE OF REMOVAL OF CIVIL
Mobile, DONALD DEES, individual                      )   ACTION TO UNITED STATES
capacity, LIANA BARNETT, official                    )   DISTRICT COURT UNDER 28 U.S.C. §
capacity as Director of the Mobile County            )   1331 (FEDERAL QUESTION)
Personnel Board and the MOBILE                       )
COUNTY PERSONNEL BOARD,                              )
                                                     )
              Defendants.

                                   JOINT NOTICE OF REMOVAL

          COME NOW Defendants, Sandy S. Stimpson, Donald Dees, Liana Barnett, and Mobile

County Personnel Board (referred to herein as “Defendants”)1, and hereby jointly remove this

action from the Circuit Court of Mobile County, Alabama, to the United States District Court for

the Southern District of Alabama, Southern Division, pursuant to 28 U.S.C. §§ 1331 and 1441.

I.        NATURE OF THE ACTION

          1.        On January 9, 2018, Plaintiff filed the action entitled Michael Smith v. Sandy S.

Stimpson, et al., Case No. CV-2018-000010 (“the Complaint”) in the Circuit Court of Mobile

County, Alabama. True and correct copies of all pleadings in the state court action are attached

hereto as Exhibit “A”.

          2.        The Complaint alleges that Defendants violated the due process clause of the

Fourteenth Amendment made actionable by 42 U.S.C. § 1983 "[b]y denying Plaintiff Smith

          1
        Please see Consent to Removal filed contemporaneously herewith for Defendants
Donald Dees, Liana Barnett, and Mobile County Personnel Board.



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mandatory and non-discretionary Mobile County Merit System 'due process procedures'" in

terminating him as an employee of the City of Mobile Police Department. (Compl. ¶ 57).

          3.     Specifically, Plaintiff alleges, among other things, that the "City and Mayor have

established a separate disciplinary procedure in violation of "the Act" and the Rules of the

MCPB and therefore such actions violated Smith's Constitutional and Statutory rights and

protections." (Compl. ¶69). Plaintiff further alleges that the "Personnel Director and MCPB have

failed to prevent the City from operating under the MPD Disciplinary Procedures and therefore

such actions violated Smith's Constitutional and Statutory rights and protections." (Compl. ¶70)

II.       FEDERAL QUESTION JURISDICTION

          4.     “A civil action filed in a state court may be removed to federal court if the claim

is one ‘arising under’ federal law.” Beneficial Nat’l Bank v. Anderson, 539 U.S. 1, 6 (2003).

Thus, a case is removable when the Complaint affirmatively alleges a federal claim.               Id.

However, even if a complaint does not specifically allege violations of federal law, if the claims

appear to be federal in nature, “then the federal court must re-characterize the complaint to

reflect the reality” of the essence of the claims. See BIW Deceived v. Local S6, Indus. Union of

Marine and Shipbuilding Workers, 132 F.3d 824, 831-21 (1st Cir. 1997).

          5.     Plaintiff alleges claims that arise under the Civil Rights Act, 42 U.S.C. § 1983, as

well as claims that arise under the United States Constitution. Thus, removal of this action is

proper under 28 U.S.C. §§ 1331 and 1441(c).

          6.     Plaintiff’s claims appear to seek relief for constitutional violations under the

Fourteenth Amendment, as well as other violations of 42 U.S.C. § 1983 regarding violations of

due process rights associated with Plaintiff's termination. See Northfield, LLC v. Utilities Bd. of

City of Bayou La Batre, Ala.,No. 09-0575-WS-M, 2009 WL 3784338, *1 (S.D. Ala. Nov. 9,

2009) (“[P]laintiff is asserting claims against defendants ‘arising under the Constitution, law, or


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treatises of the United States. . . This fact gives rise to federal question jurisdiction, as a matter of

fundamental, black letter law.”); Harris v. Birmingham Bd. of Educ., 817 F.2d 1525, 1526-27

(11th Cir. 1987) (action based on violation of 42 U.S.C. § 1983 was properly removed since the

district court had original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343); Jairaith v. Dyer,

154 F.3d 1289, 1282 (11th Cir. 1998) (“federal question jurisdiction may be based on a civil

action alleging a violation of the Constitution”).

III.      TIMELINESS AND TECHNICAL REQUIREMENTS OF REMOVAL

          7.      The United States District Court for the Southern District of Alabama, Southern

Division, is the federal judicial district and division embracing the Circuit Court of Mobile

County, Alabama, where this suit was originally filed. Removal to this District and Division is

therefore proper pursuant to 28 U.S.C. § 81(c)(2) and § 1441(a).

          8.      The Circuit Court’s file reflects that Defendants Sandy Stimpson, Donald Dees,

Liana Barnett, and the Mobile County Personnel Board were served with the Complaint on

January 11, 2018. Defendants, represented by undersigned counsel, have accepted service as of

the date of this Notice of Removal. Thus, this removal is timely under 28 U.S.C. § 1446(b) in

that removal is sought within 30 days from the date of service of the summons.

          9.      Written notice of the filing of this Notice of Removal has been given to the

Plaintiff and a copy is concurrently being filed with the Clerk of the Circuit Court of Mobile

County, Alabama, in accordance with the provisions of 28 U.S.C. § 1446(d).

          10.     The proper filing fee has been tendered to the Clerk of the United States District

Court for the Southern District of Alabama, Southern Division.

IV.       RELIEF REQUESTED

          WHEREFORE, Defendants desiring to remove this case to the United States District

Court for the Southern District of Alabama, being the said district of said Court for the County in


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which the action is pending, pray that this Court will make any and all orders necessary to effect

the removal of this cause of the Circuit Court of Mobile County, Alabama, and to effect and

prepare in this Court the true record of all proceedings that may have been had in the Circuit

Court of Mobile, Alabama.

          Respectfully submitted this the 30th day of January, 2018.



                                               s/ L. Robert Shreve
                                               KASEE S. HEISTERHAGEN               (SPARK7253)
                                               L. ROBERT SHREVE                    (SHREV3179)

                                               Attorneys for Defendant Sandy Stimpson

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                                CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy of the foregoing document by Notice of
Electronic Filing, or, if the party served does not participate in Notice of Electronic Filing, by
U.S. First Class Mail, hand delivery, fax or email on this the 30th day of January, 2018:

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                                             s/ L. Robert Shreve
                                             OF COUNSEL




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